Case 8:12-cv-01994-DOC-JCG     Document 223-1   Filed 10/24/24   Page 1 of 6 Page
                                   ID #:3132


  1   DAVIS LAW OFFICE
      D. Jason Davis (SBN 193225)
  2   222 W. 6th Street, Suite 400
      San Pedro, CA 90731
  3   Phone: (424) 256-6279
      Email: jason@davislo.com
  4
      Attorneys For Plaintiffs and Judgment Creditors,
  5   Big Bird Holdings, LLC and Jonathan David Parker
  6

  7

  8                    UNITED STATES DISTRICT COURT
  9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
 10   DAVID PARKER and BIG BIRD             CASE No. 8:12-cv-01994-DOC-JCG
      HOLDINGS, LLC, a California
 11   corporation,
                                            DECLARATION OF JONATHAN
 12              Plaintiffs,                DAVID PARKER IN SUPPORT OF
      vs.                                   ACNKOWLEDGEMENT OF
 13                                         ASSIGNMENT OF JUDGMENT
      ALEXANDER MARINE CO., LTD.,
 14
                 Defendant.
 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27

 28


        DECLARATION OF JONATHAN DAVID PARKER IN SUPPORT OF ACNKOWLEDGEMENT OF
                               ASSIGNMENT OF JUDGMENT
Case 8:12-cv-01994-DOC-JCG   Document 223-1   Filed 10/24/24   Page 2 of 6 Page
                                 ID #:3133
Case 8:12-cv-01994-DOC-JCG   Document 223-1   Filed 10/24/24   Page 3 of 6 Page
                                 ID #:3134




               EXHIBIT A
      Case 8:12-cv-01994-DOC-JCG                         Document 223-1         Filed 10/24/24           Page 4 of 6 Page




                                                                                                                                            B1572-1159 03/08/2023 4:29 PM Received by California Secretary of State
                                                             ID #:3135                                                BA20230400633

                         STATE OF CALIFORNIA                                                                  For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                              -FILED-
                         LIMITED LIABILITY COMPANY
                         California Secretary of State                                                File No.: BA20230400633
                         1500 11th Street                                                             Date Filed: 3/8/2023
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Limited Liability Company Name                                     BIG BIRD HOLDINGS, LLC
  Entity No.                                                         200102310098
  Formed In                                                          CALIFORNIA
Street Address of Principal Office of LLC
  Principal Address                                                  1605 VIA MONTEMAR
                                                                     PALOS VERDES ESTATES, CA 90274
Mailing Address of LLC
  Mailing Address                                                    1605 VIA MONTEMAR
                                                                     PALOS VERDES ESTATES, CA 90274
  Attention
Street Address of California Office of LLC
  Street Address of California Office                                1605 VIA MONTEMAR
                                                                     PALOS VERDES ESTATES, CA 90274
Manager(s) or Member(s)

                           Manager or Member Name                                       Manager or Member Address

     • Jonathan David Parker                                        1605 VIA MONTEMAR
                                                                    PALOS VERDES ESTATES, CA 90274


Agent for Service of Process
  Agent Name                                                         JONATHAN DAVID PARKER
  Agent Address                                                      1605 VIA MONTEMAR
                                                                     PALOS VERDES ESTATES, CA 90274
Type of Business
  Type of Business                                                   ESTATE MANAGEMENT
Email Notifications
  Opt-in Email Notifications                                         Yes, I opt-in to receive entity notifications via email.
Chief Executive Officer (CEO)

                                CEO Name                                                    CEO Address

                                                              None Entered


Labor Judgment
  No Manager or Member, as further defined by California Corporations Code section 17702.09(a)(8), has an
  outstanding final judgment issued by the Division of Labor Standards Enforcement or a court of law, for which no
  appeal is pending, for the violation of any wage order or provision of the Labor Code.




                                                                                                                                    Page 1 of 2
     Case 8:12-cv-01994-DOC-JCG                      Document 223-1             Filed 10/24/24          Page 5 of 6 Page




                                                                                                                                           B1572-1160 03/08/2023 4:29 PM Received by California Secretary of State
                                                         ID #:3136
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Dane Wenthur                                                       03/08/2023
  Signature                                                          Date




                                                                                                                                   Page 2 of 2
Case 8:12-cv-01994-DOC-JCG       Document 223-1      Filed 10/24/24   Page 6 of 6 Page
                                     ID #:3137


  1                             CERTIFICATE OF SERVICE
  2
             Pursuant to Local Rule, I, the filer of this document, attest that all other
  3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  4   content and have authorized the filing. I certify that on October 24, 2024, I
      electronically filed the foregoing DECLARATION OF JONATHAN DAVID
  5   PARKER IN SUPPORT OF ACNKOWLEDGEMENT OF ASSIGNMENT OF
  6   JUDGMENT with the Clerk of the Court for the United States District Court,
      Central District of California, by using the CM/ECF system. Participants in the
  7   case who are registered CM/ECF users will be served by the CM/ECF system.
  8

  9
 10    Dated: October 24, 2024                 DAVIS LAW OFFICE
 11
                                               By:   /s/ D. Jason Davis
 12                                               D. Jason Davis, Esq.
                                               Attorneys for Plaintiffs and Judgment
 13                                            Creditors Big Bird Holdings, LLC and
                                               Jonathan David Parker
 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                 3
        DECLARATION OF JONATHAN DAVID PARKER IN SUPPORT OF ACNKOWLEDGEMENT OF
                               ASSIGNMENT OF JUDGMENT
